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                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION


  Wendy Sosebee, on behalf of herself and
  all others similarly situated,                      CASE NO. 2:24-cv-04578-BHH

                               Plaintiff,             CLASS ACTION COMPLAINT

  v.                                                  JURY TRIAL DEMANDED

  Evening Post Publishing Inc.,

                                   Defendant.


        Wendy Sosebee (“Plaintiff”) brings this Class Action Complaint against Evening Post

Publishing Inc. (“Defendant”), individually and on behalf of all others similarly situated (“Class

Members”), and alleges, upon personal knowledge as to her own actions and her counsel’s

investigations, and upon information and belief as to all other matters, as follows:

                                  NATURE OF THE ACTION

        1.     This class action arises out of the recent cyberattack and data breach (“Data

Breach”) on Defendant’s network.

        2.     Plaintiff brings this class action against Defendant for its failure to properly secure

and safeguard personally identifiable information including, but not limited to, Plaintiff’s and

Class Members’ names, passport numbers, Social Security numbers, financial account

information, credit card information, and driver’s license numbers (collectively, “Private

Information” or “PII”).




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           3.    As a result of the Data Breach, Plaintiff and class members suffered ascertainable

loses in the form of the loss of the benefit of their bargain, out-of-pocket expenses, and the value

of their time reasonably expended to remedy or mitigate the effects of the attack.

           4.    Defendant is an independently held newspaper group and media company.

Defendant owns and operates at least nine newspapers in South Carolina along with other media

and print companies.1 Defendant’s primary business is producing newspaper and print materials.

           5.    In order to obtain newspaper and print materials and/or employment with

Defendant, Defendant required Plaintiff and Class Members to provide their Private Information

to Defendant.

           6.    On March 20, 2024, Defendant “became aware of suspicious activity on [the]

network” and initiated an investigation.2

           7.    Further investigation determined that Defendant’s network “was subject to

unauthorized access between March 13 and March 20, 2024, and that certain files were acquire by

an unknown actor while on the network.”3 Defendant reviewed its files and data and determined

that PII was affected.

           8.    Defendant issued a notice of data security incident (the “Notice of Data Breach

Letter”) on August 8, 2024 informing Plaintiff and members of the Class that an unknown and

unauthorized user hacked into the network and acquired PII. The letter in part reads:

                 What Information was Involved? The information that could have been impacted
                 by this event includes your: name, passport number, Social Security number,
                 financial account information, and driver’s license number.

1
    https://eveningpostpublishing.com/about/ (last accessed August 15, 2024).
2
 https://www.postandcourier.com/site/evening-post-publishing-provides-notice-of-data-
event.html (last accessed August 15, 2024).
3
    Id.

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       9.      Based on the Notice of Data Breach Letter, Defendant admits that Plaintiff and

Class Members’ Private Information was unlawfully accessed and exfiltrated.

       10.     Plaintiff’s and Class Members’ Private Information was then made available

online, meaning their Private Information is exposed and has or likely will be used by

cybercriminals for unlawful purposes.

       11.     Plaintiff brings this class action lawsuit on behalf of those similarly situated to

address Defendant’s inadequate safeguarding of Plaintiff’s and Class Members’ Private

Information that it collected and maintained, and for failing to provide adequate notice to Plaintiff

and other Class Members that their information had been subject to the unauthorized access of an

unknown third party and precisely what specific type of information was accessed.

       12.     Defendant maintained the Private Information in a reckless and negligent manner.

In particular, the Private Information was maintained on Defendant’s computer system and

network in a condition vulnerable to cyberattack. Upon information and belief, the mechanism of

the Data Breach and potential for improper disclosure of Plaintiff’s and Class Members’ Private

Information was a known risk to the Defendant and thus the Defendant was on notice that failing

to take steps necessary to secure Private Information from those risks left that information in a

dangerous condition.

       13.     As a result of the Data Breach, Plaintiff and Class Members suffered ascertainable

losses in the form of the loss of the benefit of their bargain, out-of-pocket expenses, and the value

of their time reasonably incurred to remedy or mitigate the effects of the attack and the substantial

and imminent risk of identity theft.




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       14.     By obtaining, collecting, using, and deriving a benefit from the Private Information

of Plaintiff and Class Members, Defendant assumed legal and equitable duties to those individuals

to protect and safeguard that information from unauthorized access and intrusion. Defendant

admits that the unencrypted Private Information was impacted during the Data Breach.

       15.     The exposed Private Information of Plaintiff and Class Members can—and likely

will—be sold on the dark web.

       16.     Hackers can offer for sale the unencrypted, unredacted Private Information to

criminals. Plaintiff and Class Members now face a lifetime risk of identity theft, which is

heightened here by the loss of Social Security numbers – the gold standard for identity thieves.

       17.     This Private Information was compromised due to Defendant’s negligent and/or

careless acts and omissions and the failure to protect the Private Information of Plaintiff and Class

Members. In addition to Defendant’s failure to prevent the Data Breach, after discovering the

breach, Defendant waited several months to report it to government agencies and affected

individuals.

       18.     As a result of this delayed response, Plaintiff and Class Members had no idea their

Private Information had been compromised, and that they were, and continue to be, at significant

risk of identity theft and various other forms of personal, social, and financial harm. The risk will

remain for their respective lifetimes.

       19.     Plaintiff brings this action on behalf of all persons whose Private Information was

compromised as a result of Defendant’s failure to: (i) adequately protect the Private Information

of Plaintiff and Class Members; (ii) warn Plaintiff and Class Members of Defendant’s inadequate

information security practices; and (iii) effectively secure hardware containing protected Private




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Information using reasonable and effective security procedures free of vulnerabilities and

incidents. Defendant’s conduct amounts to negligence and violates federal and state statutes.

       20.     Plaintiff and Class Members have suffered injury as a result of Defendant’s

conduct. These injuries include: (i) lost or diminished value of Private Information; (ii) out-of-

pocket expenses associated with the prevention, detection, and recovery from identity theft, tax

fraud, and/or unauthorized use of their Private Information; (iii) lost time and opportunity costs

associated with attempting to mitigate the actual consequences of the Data Breach, including but

not limited to lost time, and (iv) the continued and substantially increased risk to their Private

Information which: (a) remains unencrypted and available for unauthorized third parties to access

and abuse; and (b) may remain backed up in Defendant’s possession and is subject to further

unauthorized disclosures so long as Defendant fails to undertake appropriate and adequate

measures to protect the Private Information.

       21.     Defendant disregarded the rights of Plaintiff and Class Members by intentionally,

willfully, recklessly, and/or negligently failing to take and implement adequate and reasonable

measures to ensure that the Private Information of Plaintiff and Class Members was safeguarded,

failing to take available steps to prevent an unauthorized disclosure of data, and failing to follow

applicable, required, and appropriate protocols, policies and procedures regarding the encryption

of data, even for internal use.

       22.      As a result of the Data Breach, the Private Information of Plaintiff and Class

Members was compromised through disclosure to an unknown and unauthorized third party.

Plaintiff and Class Members have a continuing interest in ensuring that their information is and

remains safe, and they should be entitled to injunctive and other equitable relief.




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                                           PARTIES

       23.     Plaintiff Wendy Sosebee is an individual citizen of the State of South Carolina.

Plaintiff was notified of the Data Breach and her Private Information being comprised upon

receiving the Data Breach Notice Letter on August 8, 2024.

       24.     Plaintiff Wendy Sosebee is a former employee of Defendant Evening Post

Publishing and a consumer of Defendant’s publications.

       25.     Defendant Evening Post Publishing Inc. is a corporation organized under the laws

of South Carolina with its principle place of business located at 148 Williman Street, Charleston,

South Carolina 29403.

                                JURISDICTION AND VENUE

       26.     This Court has subject matter jurisdiction over this action under S.C. Const. art.

V, § 11. This Court has personal jurisdiction over Defendant pursuant to S.C. Code Ann. § 36-2-

802 because Defendant transacts business and maintains its principle place of business in the State

of South Carolina.

       27.     Venue is proper in this Court pursuant to S.C. Code Ann. § 15-7-30(E) because

Defendant has its principle place of business and conducted the activities that gave rise to this

claim in this county.

                                 FACTUAL ALLEGATIONS

Background

       28.     On March 20, 2024, Defendant discovered its network had been breached via

cyberattack.

       29.     Following an investigation, Defendant discovered that Defendant’s “network was

subject to unauthorized access between March 13 and March 20, 2024.”


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       30.     Defendant’s Notice of Data Breach admits that Plaintiff’s and Class Members’

Private Information was accessed without authorization and exfiltrated by cybercriminals.

       31.     Defendant’s Notice of Data Breach admits that cybercriminal(s) not only viewed

and accessed Plaintiff’s and Class Members’ Private Information, but also removed it from

Defendant’s network, meaning the Private Information was exfiltrated.

       32.     In the ordinary course of employment and/or receiving newspapers and print

materials from Defendant, Plaintiff and Class Members were required to provide Defendant with

Private Information.

       33.     Defendant agreed to and undertook legal duties to maintain the Private Information

of Plaintiff and Class Members safely, confidentially, and in compliance with all applicable laws.

       34.     By obtaining, collecting, using, and deriving a benefit from Plaintiff’s and Class

Members’ Private Information, Defendant assumed legal and equitable duties and knew or should

have known that it was responsible to protect Plaintiff’s and Class Members’ Private Information

from unauthorized disclosure.

       35.     Plaintiff and Class Members have taken reasonable steps to maintain the

confidentiality of their Private Information.

       36.     Plaintiff and Class Members relied on Defendant to keep their Private Information

confidential and securely maintained, to use this information for business and health purposes only,

and to make only authorized disclosure of this Private Information.

       37.     Plaintiff and Class Members directly or indirectly entrusted Defendant with

sensitive and confidential information, including their Private Information which includes

information that is static, does not change, and can be used to commit myriad financial crimes.




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       38.     Plaintiff and Class Members relied on Defendant to keep their Private Information

confidential and securely maintained, to use this information for business purposes only, and to

make only authorized disclosures of this information. Plaintiff and Class Members demand

Defendant safeguard their Private Information.

       39.     Defendant had a duty to adopt reasonable measures to protect the Private

Information of Plaintiff and Class Members from involuntary disclosure to third parties.

       40.     On information and belief, Defendant maintained the Private Information of

Plaintiff and Class Members, including, but not limited to, the following: name, mailing address,

date of birth, Social Security number, and protected health information.

       41.     Defendant did not use reasonable security procedures and practices appropriate to

the nature of the sensitive, unencrypted information they were maintaining for Plaintiff and Class

Members, causing the exposure of Private Information.

       42.     As a result of Defendant’s failure to use reasonable security procedures and

practices appropriate to the nature of the sensitive, unencrypted information they were maintaining

for Plaintiff and Class Members, cybercriminals infiltrated Defendant’s systems and stole

Plaintiff’s and Class Members’ Private Information.

       43.     The unencrypted PII of Plaintiff and Class Members will likely end up for sale on

the dark web as that is the modus operandi of hackers. In addition, unencrypted PII may fall into

the hands of companies that will use the detailed PII for targeted marketing without the approval

of Plaintiff and Class Members. In turn, unauthorized individuals can easily access the PII of

Plaintiff and Class Members.




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          44.   Defendant admitted that Private Information potentially impacted in the Data

Breach contained names, dates of birth, passport numbers, Social Security numbers, financial

account information, credit card information, and/or driver’s license numbers.

          45.   Because Defendant failed to properly protect safeguard Plaintiff’s and Class

Members’ Private Information, an unauthorized third party was able to access Defendant’s

network, and access Plaintiff’s and Class Members’ Private Information stored on Defendant’s

system.

Plaintiff Wendy Sosebee’s Experience

          46.   Plaintiff entrusted her Private Information to Defendant in order to be employed by

Defendant and to receive newspapers and print materials from Defendant.

          47.   Plaintiff’s Private Information was within the possession and control of Defendant

at the time of the Data Breach.

          48.   Plaintiff provided her Private Information to Defendant and trusted that the

information would be safeguarded according to internal policies and state and federal law.

          49.   On or around August 8, 2024, Defendant notified Plaintiff that Defendant’s network

had been accessed and Plaintiff’s Private Information may have been involved in the Data Breach.

          50.   Plaintiff is very careful about sharing her sensitive Private Information. Plaintiff

has never knowingly transmitted unencrypted sensitive PII over the internet or any other unsecured

source.

          51.   Plaintiff stores any documents containing her sensitive PII in a safe and secure

location or destroys the documents. Moreover, Plaintiff diligently chooses unique usernames and

passwords for her various online accounts.




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       52.     As a result of the Data Breach, Plaintiff spent time dealing with the consequences

of the Data Breach, which includes time spent verifying the legitimacy of the Notice of Data

Breach, self-monitoring her accounts and credit reports to ensure no fraudulent activity has

occurred. This time has been lost forever and cannot be recaptured. Moreover, this time was spent

at Defendant’s direction by way of the Data Breach Notice where Defendant advised Plaintiff to

mitigate her damages by, among other things, monitoring her accounts for fraudulent activity.

       53.     Even with the best response, the harm caused to Plaintiff cannot be undone.

       54.     Plaintiff suffered actual injury in the form of damages to and diminution in the

value of Plaintiff’s Private Information—a form of intangible property that Plaintiff entrusted to

Defendant, which was compromised in and as a result of the Data Breach. Plaintiff suffered lost

time, annoyance, interference, and inconvenience as a result of the Data Breach and has anxiety

and increased concerns for the loss of her privacy.

       55.     Plaintiff has suffered imminent and impending injury arising from the substantially

increased risk of fraud, identity theft, and misuse resulting from her Private Information being

placed in the hands of unauthorized third parties and possibly criminals.

       56.     Plaintiff has a continuing interest in ensuring that Plaintiff’s Private Information,

which, upon information and belief, remain backed up in Defendant’s possession, is protected, and

safeguarded from future breaches.

The Data Breach was Foreseeable

       57.     As explained by the Federal Bureau of Investigation, “[p]revention is the most

effective defense against ransomware and it is critical to take precautions for protection.”4


4
   See How to Protect Your Networks from RANSOMWARE, at 3, available at
https://www.fbi.gov/file-repository/ransomware-prevention-and-response-for-cisos.pdf/view (last

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       58.     Defendant’s data security obligations were particularly important given the

substantial increase in cyberattacks and/or data breaches in the print and media industry preceding

the date of the breach.

       59.     In 2023, a record 3,205 data breaches occurred, resulting in approximately

353,027,892 sensitive records being exposed, a 72% increase from 2022.5

       60.     In light of recent high profile cybersecurity incidents Defendant knew or should

have known that its electronic records would be targeted by cybercriminals.

       61.     Indeed, cyberattacks have become so notorious that the Federal Bureau of

Investigation (“FBI”) and U.S. Secret Service have issued a warning to potential targets so they

are aware of, and prepared for, a potential attack. As one report explained, “[e]ntities like smaller

municipalities and hospitals are attractive to ransomware criminals… because they often have

lesser IT defenses and a high incentive to regain access to their data quickly.”6

       62.     Therefore, the increase in such attacks, and attendant risk of future attacks, was

widely known to the public and to anyone in Defendant’s industry, including Defendant.

Value of PII

       63.     The PII of individuals remains of high value to criminals, as evidenced by the prices

they will pay through the dark web. Numerous sources cite dark web pricing for stolen identity

credentials. For example, personal information can be sold at a price ranging from $40 to $200,




accessed Aug. 15, 2024).
5
 See 2023 Data Breach Annual Report (ITRC, January 2024) (available at
https://notified.idtheftcenter.org/s/)
6
 FBI, Secret Service Warn of Targeted, Law360(Nov.18,2019),
https://www.law360.com/articles/1220974/fbisecret-service-warn-of-targeted-ransomware

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and bank details have a price range of $50 to $200.7 Experian reports that a stolen credit or debit

card number can sell for $5 to $110 on the dark web.8 Criminals can also purchase access to entire

company data breaches from $900 to $4,500.9

         64.   Based on the foregoing, the information compromised in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data

breach because, there, victims can cancel or close credit and debit card accounts.

         65.   This data demands a much higher price on the black market. Martin Walter, senior

director at cybersecurity firm RedSeal, explained, “Compared to credit card information,

personally identifiable information…[is] worth more than 10x on the black market.”10

         66.   Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing or even give false information to police.

         67.   The fraudulent activity resulting from the Data Breach may not come to light for

years.

         68.   Moreover, there may be a time lag between when harm occurs versus when it is

discovered, and also between when PII is stolen and when it is used. According to the U.S.



7
  Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct.
16, 2019, available at: https://www.digitaltrends.com/computing/personal-data-sold-on-the-
dark-web-how-much-it-costs/ (last accessed Oct. 27, 2021).
8
 Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian, Dec.
6, 2017, available at: https://www.experian.com/blogs/ask-experian/heres-how-much-your-
personal-information-is-selling-for-on-the-dark-web/ (last accessed Oct. 27, 2021).
9
 In the Dark, VPNOverview, 2019, available at: https://vpnoverview.com/privacy/anonymous-
browsing/in-the-dark/ (last accessed Oct. 27, 2021).
10
   Time Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card
Numbers, IT World, (Feb. 6, 2015), available at:
https://www.networkworld.com/article/2880366/anthem-hack-personal-data-stolen-sells-for-10x-
price-of-stolen-credit-card-numbers.html (last accessed Aug. 23, 2021).

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Government Accountability Office (“GAO”), which conducted a study regarding data breaches:

       [L]aw enforcement officials told us that in some cases, stolen data may be held for
       up to a year or more before being used to commit identity theft. Further, once stolen
       data have been sold or posted on the Web, fraudulent use of that information may
       continue for years. As a result, studies that attempt to measure the harm resulting
       from data breaches cannot necessarily rule out all future harm.11

       69.     At all relevant times, Defendant knew, or reasonably should have known, of the

importance of safeguarding the PII of Plaintiff and Class Members and the foreseeable

consequences that would occur if Defendant’s data security system was breached, including,

specifically, the significant costs that would be imposed on Plaintiff and Class Members as a result

of a breach.

       70.     Plaintiff and Class Members now face years of constant surveillance of their

financial and personal records, monitoring, and loss of rights. The Class is incurring and will

continue to incur such damages in addition to any fraudulent use of their PII.

       71.     Defendant was, or should have been, fully aware of the unique type and the

significant volume of data on Defendant’s network, amounting to potentially millions of

individuals’ detailed, personal information and, thus, the significant number of individuals who

would be harmed by the exposure of the unencrypted data.

       72.     The injuries to Plaintiff and Class Members were directly and proximately caused

by Defendant’s failure to implement or maintain adequate data security measures for the PII of

Plaintiff and Class Members.




11
    Report to Congressional Requesters, GAO, at 29 (June 2007), available at:
https://www.gao.gov/assets/gao-07-737.pdf (last accessed Aug. 23, 2021).

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       73.     As a condition of providing newspaper, journals, and print media, Defendant

requires that its employees and customers entrust it with Private Information.

       74.     By obtaining, collecting, using, and deriving a benefit from Plaintiff’s and Class

Members’ Private Information, Defendant assumed legal and equitable duties and knew or should

have known that it was responsible for protecting Plaintiff’s and Class Members’ Private

Information from unauthorized disclosure.

       75.     Plaintiff and the Class Members have taken reasonable steps to maintain the

confidentiality of their Private Information.

       76.     Plaintiff and the Class Members relied on Defendant to implement and follow

adequate data security policies and protocols, to keep their Private Information confidential and

securely maintained, to use such Private Information solely for business purposes, and to prevent

the unauthorized disclosures of the Private Information.

Defendant Acquires, Collects, and Stores the Private Information of Plaintiff and Class
Members

       77.     Defendant acquired, collected, and stored the Private Information of Plaintiff and

Class Members.

       78.     By obtaining, collecting, and storing the Private Information of Plaintiff and Class

Members, Defendant assumed legal and equitable duties and knew or should have known that it

was responsible for protecting the PII from disclosure.

       79.     Plaintiff and Class Members have taken reasonable steps to maintain the

confidentiality of their Private Information and relied on Defendant to keep their PII confidential

and securely maintained, to use this information for business purposes only, and to make only

authorized disclosures of this information.



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Defendant Failed to Properly Protect Plaintiff’s and Class Members’ Private Information

       80.     Defendant could have prevented this Data Breach by properly securing and

encrypting the systems containing the PII of Plaintiff and Class Members.             Alternatively,

Defendant could have destroyed the data, especially for individuals with whom it had not had a

relationship for a period of time.

       81.     Defendant’s negligence in safeguarding the PII of Plaintiff and Class Members is

exacerbated by the repeated warnings and alerts directed to companies like Defendant to protect

and secure sensitive data they possess.

       82.     Despite the prevalence of public announcements of data breach and data security

compromises, Defendant failed to take appropriate steps to protect the PII of Plaintiff and Class

Members from being compromised.

       83.     The Federal Trade Commission (“FTC”) defines identity theft as “a fraud

committed or attempted using the identifying information of another person without authority.”

The FTC describes “identifying information” as “any name or number that may be used, alone or

in conjunction with any other information, to identify a specific person,” including, among other

things, “[n]ame, Social Security number, date of birth, official State or government issued driver’s

license or identification number, alien registration number, government passport number,

employer or taxpayer identification number.”

       84.     The ramifications of Defendant’s failure to keep secure the PII of Plaintiff and Class

Members are long lasting and severe. Once PII is stolen, fraudulent use of that information and

damage to victims may continue for years.

       85.     To prevent and detect unauthorized cyber-attacks, Defendant could and should

have implemented, as recommended by the United States Government, the following measures:


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        •    Implement an awareness and training program. Because end users are
             targets, employees and individuals should be aware of the threat of
             ransomware and how it is delivered.

        •    Enable strong spam filters to prevent phishing emails from reaching the
             end users and authenticate inbound email using technologies like Sender
             Policy Framework (SPF), Domain Message Authentication Reporting and
             Conformance (DMARC), and DomainKeys Identified Mail (DKIM) to
             prevent email spoofing.

        •    Scan all incoming and outgoing emails to detect threats and filter
             executable files from reaching end users.

        •    Configure firewalls to block access to known malicious IP addresses.

        •    Patch operating systems, software, and firmware on devices. Consider
             using a centralized patch management system.

        •    Set anti-virus and anti-malware programs to conduct regular scans
             automatically.

        •    Manage the use of privileged accounts based on the principle of least
             privilege: no users should be assigned administrative access unless
             absolutely needed; and those with a need for administrator accounts should
             only use them when necessary.

        •    Configure access controls—including file, directory, and network share
             permissions—with least privilege in mind. If a user only needs to read
             specific files, the user should not have write access to those files,
             directories, or shares.

        •    Disable macro scripts from office files transmitted via email. Consider
             using Office Viewer software to open Microsoft Office files transmitted
             via email instead of full office suite applications.

        •    Implement Software Restriction Policies (SRP) or other controls to prevent
             programs from executing from common ransomware locations, such as
             temporary folders supporting popular Internet browsers or
             compression/decompression          programs,         including         the
             AppData/LocalAppData folder.

        •    Consider disabling Remote Desktop protocol (RDP) if it is not being used.

        •    Use application whitelisting, which only allows systems to execute
             programs known and permitted by security policy.


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                    •      Execute operating system environments or specific programs in a
                           virtualized environment

                    •      Categorize data based on organizational value and implement physical and
                           logical separation of networks and data for different organizational units.12

          86.      To prevent and detect cyber-attacks, including the cyber-attack that resulted in the

Data Breach, Defendant could and should have implemented, as recommended by the United

States Cybersecurity & Infrastructure Security Agency, the following measures:

           •    Update and patch your computer. Ensure your applications and operating systems
                (OSs) have been updated with the latest patches. Vulnerable applications and OSs are
                the target of most ransomware attacks….

           •    Use caution with links and when entering website addresses. Be careful when
                clicking directly on links in emails, even if the sender appears to be someone you
                know. Attempt to independently verify website addresses (e.g., contact your
                organization's helpdesk, search the internet for the sender organization’s website or
                the topic mentioned in the email). Pay attention to the website addresses you click on,
                as well as those you enter yourself. Malicious website addresses often appear almost
                identical to legitimate sites, often using a slight variation in spelling or a different
                domain (e.g., .com instead of .net)….

           •    Open email attachments with caution. Be wary of opening email attachments, even
                from senders you think you know, particularly when attachments are compressed files
                or ZIP files.

           •    Keep your personal information safe. Check a website’s security to ensure the
                information you submit is encrypted before you provide it….

           •    Verify email senders. If you are unsure whether or not an email is legitimate, try to
                verify the email’s legitimacy by contacting the sender directly. Do not click on any
                links in the email. If possible, use a previous (legitimate) email to ensure the contact
                information you have for the sender is authentic before you contact them.

           •    Inform yourself. Keep yourself informed about recent cybersecurity threats and up
                to date on ransomware techniques. You can find information about known phishing
                attacks on the Anti-Phishing Working Group website. You may also want to sign up
                for CISA product notifications, which will alert you when a new Alert, Analysis
                Report, Bulletin, Current Activity, or Tip has been published.


12
     Id. at 3-4.

                                                    17
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        •    Use and maintain preventative software programs. Install antivirus software,
             firewalls, and email filters—and keep them updated—to reduce malicious network
             traffic….13

       87.     To prevent and detect cyber-attacks, including the cyber-attack that resulted in the

Data Breach, Defendant could and should have implemented, as recommended by the Microsoft

Threat Protection Intelligence Team, the following measures:

       Secure internet-facing assets

               •   Apply latest security updates
               •   Use threat and vulnerability management
               •   Perform regular audit; remove privileged credentials;

       Thoroughly investigate and remediate alerts

               •   Prioritize and treat commodity malware infections as potential full
                   compromise;

       Include IT Pros in security discussions

               •   Ensure collaboration among [security operations], [security admins], and
                   [information technology] admins to configure servers and other endpoints
                   securely;

       Build credential hygiene

               •   Use [multifactor authentication] or [network level authentication] and use
                   strong, randomized, just-in-time local admin passwords

       Apply principle of least-privilege

               •   Monitor for adversarial activities
               •   Hunt for brute force attempts
               •   Monitor for cleanup of Event Logs
               •   Analyze logon events



13
  See Security Tip (ST19-001) Protecting Against Ransomware (original release date Apr. 11,
2019), available at https://www.cisa.gov/news-events/news/protecting-against-ransomware (last
accessed Aug. 15, 2024).

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       Harden infrastructure

                •   Use Windows Defender Firewall
                •   Enable tamper protection
                •   Enable cloud-delivered protection
                •   Turn on attack surface reduction rules and [Antimalware Scan Interface] for
                    Office [Visual Basic for Applications].14

       88.      Given that Defendant was storing the PII of Plaintiff and Class Members,

Defendant could and should have implemented all of the above measures to prevent and detect

cyberattacks.

       89.      The occurrence of the Data Breach indicates that Defendant failed to adequately

implement one or more of the above measures to prevent cyberattacks, resulting in the Data Breach

and the exposure of the PII of Plaintiff and Class Members.

       90.      As the result of computer systems in need of security upgrades, inadequate

procedures for handling email phishing attacks, viruses, malignant computer code, hacking attacks,

Defendant negligently and unlawfully failed to safeguard Plaintiff’ and Class Members’ Private

Information.

       91.      Because Defendant failed to properly protect safeguard Plaintiff’s and Class

Members’ Private Information, an unauthorized third party was able to access Defendant’s

network, and access Defendant’s database and system configuration files.

       92.      Specifically, Defendant admits that on or around March 20, 2024 an unauthorized

party accessed Defendant’s network and acquired files on the network.




14
   See Human-operated ransomware attacks: A preventable disaster (Mar 5, 2020), available at
https://www.microsoft.com/security/blog/2020/03/05/human-operated-ransomware-attacks-a-
preventable-disaster/ (last accessed Aug. 15, 2024).

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       93.      Given that Defendant was storing the PII of Plaintiff and Class Members,

Defendant could and should have implemented all of the above measures to prevent and detect

cyberattacks.

       94.      The occurrence of the Data Breach indicates that Defendant failed to adequately

implement one or more of the above measures to prevent cyberattacks, resulting in the Data Breach

and the exposure of the PII of Plaintiff and Class Members.

       95.      As the result of computer systems in need of security upgrades, inadequate

procedures for handling email phishing attacks, viruses, malignant computer code, hacking attacks,

Defendant negligently and unlawfully failed to safeguard Plaintiff’s and Class Members’ Private

Information.

Defendant Failed to Comply with FTC Guidelines

       96.      The Federal Trade Commission (“FTC”) has promulgated numerous guides for

businesses which highlight the importance of implementing reasonable data security practices.

According to the FTC, the need for data security should be factored into all business decision

making.

       97.      In 2016, the FTC updated its publication, Protecting Personal Information: A Guide

for Business, which established cyber-security guidelines for businesses. The guidelines note that

businesses should protect the personal patient information that they keep; properly dispose of

personal information that is no longer needed; encrypt information stored on computer networks;

understand their network’s vulnerabilities; and implement policies to correct any security

problems.15


15
 Protecting Personal Information: A Guide for Business, Federal Trade Commission (2016).
Available at https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-

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       98.     The guidelines also recommend that businesses use an intrusion detection system

to expose a breach as soon as it occurs; monitor all incoming traffic for activity indicating someone

is attempting to hack the system; watch for large amounts of data being transmitted from the

system; and have a response plan ready in the event of a breach.

       99.     The FTC further recommends that companies not maintain PII longer than is

needed for authorization of a transaction; limit access to sensitive data; require complex passwords

to be used on networks; use industry-tested methods for security; monitor for suspicious activity

on the network; and verify that third-party service providers have implemented reasonable security

measures.

       100.    The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect patient data, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15

U.S.C. § 45. Orders resulting from these actions clarify the measures businesses take to meet their

data security obligations.

       101.    Defendant failed to properly implement basic data security practices. Defendant’s

failure to employ reasonable and appropriate measures to protect against unauthorized access to

Plaintiff’s and Class Members’ PII constitutes an unfair act or practice prohibited by Section 5 of

the FTC Act, 15 U.S.C. § 45.




personal-information.pdf.


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        102.    Defendant was always fully aware of its obligation to protect the PII of Plaintiff

and Class members. Defendant was also aware of the significant repercussions that would result

from its failure to do so.

Defendant failed to Comply with Industry Standards

        103.    As shown above, experts studying cyber security routinely identify healthcare

providers as being particularly vulnerable to cyberattacks because of the value of the PII which

they collect and maintain.

        104.    Several best practices have been identified that at a minimum should be

implemented by print and media providers like Defendant, including but not limited to: educating

all employees; strong passwords; multi-layer security, including firewalls, anti-virus, and

antimalware software; encryption, making data unreadable without a key; multi-factor

authentication; backup data; and limiting which employees can access sensitive data.

        105.    Other best cybersecurity practices that are standard in the healthcare industry

include installing appropriate malware detection software; monitoring and limiting the network

ports; protecting web browsers and email management systems; setting up network systems such

as firewalls, switches and routers; monitoring and protection of physical security systems;

protection against any possible communication system; and training staff regarding critical points.

        106.    Defendant failed to meet the minimum standards of any of the following

frameworks: the NIST Cybersecurity Framework Version 1.1 (including without limitation

PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-5,

PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the Center for

Internet Security’s Critical Security Controls (CIS CSC), which are all established standards in

reasonable cybersecurity readiness.


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       107.   The foregoing frameworks are existing and applicable industry standards in the

healthcare industry, and Defendant failed to comply with these accepted standards, thereby

opening the door to and causing the Data Breach.

Defendant’s Negligent Acts and Breaches

       108.   Defendant breached its obligations to Plaintiff and Class Members and/or were

otherwise negligent and reckless because they failed to properly maintain and safeguard their

computer systems and data. Defendant’s unlawful conduct includes, but is not limited to, the

following acts and/or omissions:

   a. Failing to maintain an adequate data security system to reduce the risk of data breaches;

   b. Failing to adequately protect the Personal Information of Plaintiff and the Class;

   c. Failing to properly monitor their own data security systems for existing intrusions;

   d. Failing to train employees in the proper handling of emails containing the means by which
      the cyberattacks were able to first access Defendant’s networks, and to and maintain
      adequate email security practices;

   e. Failing to put into place proper procedures, software settings, and data security software
      protections to adequately protect against a blunt force intrusion;

   f. Failing to ensure the confidentiality and integrity of electronic it created, received,
      maintained, and/or transmitted, in violation of 45 C.F.R. § 164.306(a)(1);

   g. Failing to implement technical policies and procedures for electronic information systems
      that maintain electronic protected health information to allow access to only those persons
      or software programs that have been granted access rights in violation of 45 C.F.R. §
      164.312(a)(1);

   h. Failing to implement policies and procedures to prevent, detect, contain, and correct
      security violations in violation of 45 C.F.R. § 164.308(a)(1)(i);

   i. Failing to implement procedures to review records of information system activity regularly,
      such as audit logs, access reports, and security incident tracking reports in violation of 45
      C.F.R. § 164.308(a)(1)(ii)(D);




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    j. Failing to comply with FTC guidelines for cybersecurity, in violation of Section 5 of the
       FTC Act; and

    k. Failing to adhere to industry standards for cybersecurity.

          109.   As the result of antivirus and malware protection software in need of security

updating, inadequate procedures for handling phishing emails or emails containing viruses or other

malignant computer code, and other failures to maintain its networks in configuration that would

protect against cyberattacks like the one here, Defendant negligently and unlawfully failed to

safeguard Plaintiff’s and Class Members’ Personal and Medical Information by allowing providing

unsecured and unencrypted Personal and Medical Information to Defendant which in turn allowed

cyberthieves to access its IT systems.

          110.   Accordingly, as outlined below, Plaintiff and Class Members now face an increased

risk of fraud and identity theft.

As a Result of Defendant’s Failure to Safeguard Private Information, Plaintiff and the
Proposed Class Face Significant Risk of Continued Identity Theft and Have Experienced
Substantial Harm.
          111.   Plaintiff and members of the proposed Class have suffered injury from the misuse

of their PII that can be directly traced to Defendant.

          112.   The ramifications of Defendant’s failure to keep Plaintiff’s and the Class’s PII

secure are severe. Identity theft occurs when someone uses another’s personal and financial

information such as that person’s name, account number, Social Security number, driver’s license

number, date of birth, and/or other information, without permission, to commit fraud or other

crimes.

          113.   According to experts, one out of four data breach notification recipients become a

victim of identity fraud.



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       114.    As a result of Defendant’s failures to prevent—and to timely detect—the Data

Breach, Plaintiff and the proposed Class have suffered and will continue to suffer damages,

including monetary losses, lost time, anxiety, and emotional distress. They have suffered or are at

an increased risk of suffering:

           a. The loss of the opportunity to control how their PII is used;

           b. The diminution in value of their PII;

           c. The compromise and continuing publication of their PII;

           d. Out-of-pocket costs associated with the prevention, detection, recovery, and
              remediation from identity theft or fraud;

           e. Lost opportunity costs and lost wages associated with the time and effort expended
              addressing and attempting to mitigate the actual and future consequences of the
              Data Breach, including, but not limited to, efforts spent researching how to prevent,
              detect, contest, and recover from identity theft and fraud;

           f. Delay in receipt of tax refund monies;

           g. Unauthorized use of stolen PII; and

           h. The continued risk to their PII, which remains in the possession of Defendant and
              is subject to further breaches so long as Defendant fails to undertake the appropriate
              measures to protect the PII in their possession.

       115.    Stolen PII is one of the most valuable commodities on the criminal information

black market. According to Experian, a credit-monitoring service, stolen PII can be worth up to

$1,000.00 depending on the type of information obtained.

       116.    The value of Plaintiff’s and the proposed Class’s PII on the black market is

considerable. Stolen PII trades on the black market for years, and criminals frequently post stolen

private information openly and directly on various “dark web” internet websites, making the

information publicly available, for a substantial fee of course.




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        117.    It can take victims years to spot identity or PII theft, giving criminals plenty of time

to milk that information for cash.

        118.    One such example of criminals using PII for profit is the development of “Fullz”

packages.

        119.    Cyber-criminals can cross-reference two sources of PII to marry unregulated data

available elsewhere to criminally stolen data with an astonishingly complete scope and degree of

accuracy in order to assemble complete dossiers on individuals. These dossiers are known as

“Fullz” packages.

        120.    The development of “Fullz” packages means that stolen PII from the Data Breach

can easily be used to link and identify it to Plaintiff’s and the proposed Class’s phone numbers,

email addresses, and other unregulated sources and identifiers. In other words, even if certain

information such as emails, phone numbers, or credit card numbers may not be included in the PII

stolen by the cyber-criminals in the Data Breach, criminals can easily create a Fullz package and

sell it at a higher price to unscrupulous operators and criminals (such as illegal and scam

telemarketers) over and over. That is exactly what is happening to Plaintiff and members of the

proposed Class, and it is reasonable for any trier of fact, including this Court or a jury, to find that

Plaintiff’s and other members of the proposed Class’s stolen PII is being misused, and that such

misuse is fairly traceable to the Data Breach.

        121.    According to the FBI’s Internet Crime Complaint Center (IC3) 2019 Internet Crime

Report, Internet-enabled crimes reached their highest number of complaints and dollar losses that

year, resulting in more than $3.5 billion in losses to individuals and business victims.




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       122.    Further, according to the same report, “rapid reporting can help law enforcement

stop fraudulent transactions before a victim loses the money for good.” Defendant did not rapidly

report to Plaintiff and the Class that their PII had been stolen.

       123.    Victims of identity theft also often suffer embarrassment, blackmail, or harassment

in person or online, and/or experience financial losses resulting from fraudulently opened accounts

or misuse of existing accounts.

       124.    In addition to out-of-pocket expenses that can exceed thousands of dollars and the

emotional toll identity theft can take, some victims have to spend a considerable time repairing the

damage caused by the theft of their PII. Victims of new account identity theft will likely have to

spend time correcting fraudulent information in their credit reports and continuously monitor their

reports for future inaccuracies, close existing bank/credit accounts, open new ones, and dispute

charges with creditors.

       125.    Further complicating the issues faced by victims of identity theft, data thieves may

wait years before attempting to use the stolen PII. To protect themselves, Plaintiff and the Class

will need to be remain vigilant against unauthorized data use for years or even decades to come.

       126.    The Federal Trade Commission (“FTC”) has also recognized that consumer data is

a new and valuable form of currency. In a FTC roundtable presentation, former Commissioner

Pamela Jones Harbour stated that “most consumers cannot begin to comprehend the types and

amount of information collected by businesses, or why their information may be commercially

valuable. Data is currency.”16


16
   Statement of FTC Commissioner Pamela Jones Harbour—Remarks Before FTC Exploring
Privacy Roundtable, (Dec. 7, 2009),
http://www.ftc.gov/speeches/harbour/091207privacyroundtable.pdf (last visited August 15,
2024).

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       127.    The FTC has also issued numerous guidelines for businesses that highlight the

importance of reasonable data security practices. The FTC has noted the need to factor data

security into all business decision-making. According to the FTC, data security requires:

(1) encrypting information stored on computer networks; (2) retaining payment card information

only as long as necessary; (3) properly disposing of personal information that is no longer needed;

(4) limiting administrative access to business systems; (5) using industry-tested and accepted

methods for securing data; (6) monitoring activity on networks to uncover unapproved activity;

(7) verifying that privacy and security features function properly; (8) testing for common

vulnerabilities; and (9) updating and patching third-party software.

       128.    According to the FTC, unauthorized PII disclosures are extremely damaging to

consumers’ finances, credit history and reputation, and can take time, money and patience to

resolve the fallout.17 The FTC treats the failure to employ reasonable and appropriate measures to

protect against unauthorized access to confidential consumer data as an unfair act or practice

prohibited by Section 5(a) of the FTC Act.

       129.    Defendant’s failure to properly notify Plaintiff and Class Members of the Data

Breach exacerbated Plaintiff’s and Class Members’ injury by depriving them of the earliest ability

to take appropriate measures to protect their PII and take other necessary steps to mitigate the harm

caused by the Data Breach.




17
   See Taking Charge, What to Do If Your Identity is Stolen, FTC, at 3 (2012),
https://www.ojp.gov/ncjrs/virtual-library/abstracts/taking-charge-what-do-if-your-identity-stolen
(last visited August 15, 2024).

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Plaintiff’s and Class Members’ Damages

        130.    To date, Defendant has done little to provide Plaintiff and Class Members with

relief for the damages they have suffered as a result of the Data Breach, including, but not limited

to, the costs and loss of time they incurred because of the Data Breach. Defendant has only offered

12 months of inadequate identity monitoring services, despite Plaintiff and Class Members being

at risk of identity theft and fraud for the remainder of their lifetimes.

        131.    The 12 months of credit monitoring offered to persons whose Private Information

was compromised is wholly inadequate as it fails to provide for the fact that victims of data

breaches and other unauthorized disclosures commonly face multiple years of ongoing identity

theft and financial fraud. What’s more, Defendant places the burden squarely on Plaintiff and Class

Members by requiring them to expend time signing up for that service, as opposed to automatically

enrolling all victims of this Data Breach.

        132.    Plaintiff and Class Members have been damaged by the compromise of their Private

Information in the Data Breach.

        133.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have been placed at an imminent, immediate, and continuing increased risk of harm from

fraud and identity theft.

        134.    Plaintiff and Class Members face substantial risk of out-of-pocket fraud losses such

as loans opened in their names, medical services billed in their names, tax return fraud, utility bills

opened in their names, credit card fraud, and similar identity theft.

        135.    Plaintiff and Class Members face substantial risk of being targeted for future

phishing, data intrusion, and other illegal schemes based on their Private Information as potential




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fraudsters could use that information to more effectively target such schemes to Plaintiff and Class

Members.

        136.   Plaintiff and Class Members may also incur out-of-pocket costs for protective

measures such as credit monitoring fees, credit report fees, credit freeze fees, and similar costs

directly or indirectly related to the Data Breach.

        137.   Plaintiff and Class Members may also incur out-of-pocket costs for protective

measures such as credit monitoring fees, credit report fees, credit freeze fees, and similar costs

directly or indirectly related to the Data Breach.

        138.   Defendant entirely failed to provide any compensation for the unauthorized release

and disclosure of Plaintiff’s and Class Members’ Private Information.

        139.   Plaintiff and Class Members have been damaged by the compromise of their

Personal Information in the cyber-attack. Moreover, Defendant’s delay in notice affected persons

of the theft of their Private Information, prevented early mitigation efforts, and compounded the

harm.

        140.   Plaintiff and Class Members have suffered or will suffer actual injury as a direct

result of the Data Breach. Many victims suffered ascertainable losses in the form of out- of-pocket

expenses and the value of their time reasonably incurred to remedy or mitigate the effects of the

Data Breach relating to:

   a. Reviewing and monitoring financial and other sensitive accounts and finding fraudulent
      insurance claims, loans, and/or government benefits claims;

   b. Purchasing credit monitoring and identity theft prevention;

   c. Placing “freezes” and “alerts” with reporting agencies;

   d. Spending time on the phone with or at financial institutions, healthcare providers, and/or
      government agencies to dispute unauthorized and fraudulent activity in their name;


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   e. Contacting financial institutions and closing or modifying financial accounts; and

   f. Closely reviewing and monitoring Social Security number, medical insurance accounts,
      bank accounts, and credit reports for unauthorized activity for years to come.

       141.    Closely reviewing and monitoring Social Security Number, medical insurance

accounts, bank accounts, and credit reports for unauthorized activity for years to come.

       142.    Moreover, Plaintiff and Class Members have an interest in ensuring that their

Personal and Medical Information, which is believed to remain in the possession of Defendant, is

protected from further breaches by the implementation of security measures and safeguards,

including but not limited to, making sure that the storage of data or documents containing Personal

Information is not accessible online and that access to such data is password protected.

                                   CLASS ALLEGATIONS

       143.    Plaintiff brings this class action on behalf of herself and on behalf of others

similarly situated pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules of Civil

Procedure.

       144.    The Nationwide Class that Plaintiff seek to represent is defined as follows:

       All persons whose Private Information was actually or potentially accessed or
       acquired during the Data Breach event that is the subject of the Notice of Data
       Breach that Defendant published on or around March 20, 2024 (the “Class”).

       145.    In addition, Plaintiff seeks to represent the following class of South Carolina

residents as follows:

       All South Carolina residents whose Private Information was actually or potentially
       accessed or acquired during the Data Breach event that is the subject of the Notice
       of Data Breach that Defendant published on or around March 20, 2024 (the “South
       Carolina Subclass”).




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       146.    Excluded from the Classes are the following individuals and/or entities: Defendant

and Defendant’s parents, subsidiaries, affiliates, officers and directors, and any entity in which

Defendant has a controlling interest; all individuals who make a timely election to be excluded

from this proceeding using the correct protocol for opting out; any and all federal, state or local

governments, including but not limited to their departments, agencies, divisions, bureaus, boards,

sections, groups, counsels and/or subdivisions; and all judges assigned to hear any aspect of this

litigation, as well as their immediate family members.

       147.    Plaintiff reserves the right to modify or amend the definition of the proposed classes

before the Court determines whether certification is appropriate.

       148.    Numerosity, Fed R. Civ. P. 23(a)(1): Class Members are so numerous that joinder

of all members is impracticable. Upon information and belief, there are in excess of 100 individuals

whose Private Information may have been improperly accessed in the Data Breach, and each Class

is apparently identifiable within Defendant’s records.

       149.    Commonality, Fed. R. Civ. P. 23(a)(2) and (b)(3): Questions of law and fact

common to the Classes exist and predominate over any questions affecting only individual Class

Members. These include:

         a. Whether and to what extent Defendant had a duty to protect the Private Information
            of Plaintiff and Class Members;

         b. Whether Defendant had duties not to disclose the Private Information of Plaintiff and
            Class Members to unauthorized third parties;

         c. Whether Defendant had duties not to use the Private Information of Plaintiff and
            Class Members for non-business purposes;

         d. Whether Defendant failed to adequately safeguard the Private Information of Plaintiff
            and Class Members;

         e. Whether and when Defendant actually learned of the Data Breach;


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         f. Whether Defendant adequately, promptly, and accurately informed Plaintiff and
            Class Members that their PII had been compromised;

         g. Whether Defendant violated the law by failing to promptly notify Plaintiff and Class
            Members that their PII had been compromised;

         h. Whether Defendant failed to implement and maintain reasonable security procedures
            and practices appropriate to the nature and scope of the information compromised in
            the Data Breach;

         i. Whether Defendant adequately addressed and fixed the vulnerabilities which
            permitted the Data Breach to occur;

         j. Whether Defendant engaged in unfair, unlawful, or deceptive practices by failing to
            safeguard the Private Information of Plaintiff and Class Members;

         k. Whether Defendant violated the consumer protection statutes invoked herein;

         l. Whether Plaintiff and Class Members are entitled to actual, consequential, and/or
            nominal damages as a result of Defendant’s wrongful conduct;

         m. Whether Plaintiff and Class Members are entitled to restitution as a result of
            Defendant’s wrongful conduct; and

         n. Whether Plaintiff and Class Members are entitled to injunctive relief to redress the
            imminent and currently ongoing harm faced as a result of the Data Breach.

       150.    Typicality, Fed. R. Civ. P. 23(a)(3): Plaintiff’s claims are typical of those of other

Class Members because all had their PII compromised as a result of the Data Breach, due to

Defendant’s misfeasance.

       151.    Policies Generally Applicable to the Class: This class action is also appropriate for

certification because Defendant has acted or refused to act on grounds generally applicable to the

Class, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

of conduct toward the Class Members and making final injunctive relief appropriate with respect

to the Class as a whole. Defendant’s policies challenged herein apply to and affect Class Members




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uniformly and Plaintiff’s challenge of these policies hinges on Defendant’s conduct with respect

to the Class as a whole, not on facts or law applicable only to Plaintiff.

       152.    Adequacy, Fed. R. Civ. P. 23(a)(4): Plaintiff will fairly and adequately represent

and protect the interests of the Class Members in that Plaintiff has no disabling conflicts of interest

that would be antagonistic to those of the other Members of the Class. Plaintiff seeks no relief that

is antagonistic or adverse to the Members of the Class and the infringement of the rights and the

damages Plaintiff has suffered are typical of other Class Members. Plaintiff has also retained

counsel experienced in complex class action litigation, and Plaintiff intends to prosecute this action

vigorously.

       153.    Superiority and Manageability, Fed. R. Civ. P. 23(b)(3): Class litigation is an

appropriate method for fair and efficient adjudication of the claims involved. Class action

treatment is superior to all other available methods for the fair and efficient adjudication of the

controversy alleged herein; it will permit a large number of Class Members to prosecute their

common claims in a single forum simultaneously, efficiently, and without the unnecessary

duplication of evidence, effort, and expense that hundreds of individual actions would require.

Class action treatment will permit the adjudication of relatively modest claims by certain Class

Members, who could not individually afford to litigate a complex claim against large corporations,

like Defendant. Further, even for those Class Members who could afford to litigate such a claim,

it would still be economically impractical and impose a burden on the courts.

       154.    The nature of this action and the nature of laws available to Plaintiff and Class

Members make the use of the class action device a particularly efficient and appropriate procedure

to afford relief to Plaintiff and Class Members for the wrongs alleged because Defendant would

necessarily gain an unconscionable advantage since they would be able to exploit and overwhelm


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the limited resources of each individual Class Member with superior financial and legal resources;

the costs of individual suits could unreasonably consume the amounts that would be recovered;

proof of a common course of conduct to which Plaintiff were exposed is representative of that

experienced by the Class and will establish the right of each Class Member to recover on the cause

of action alleged; and individual actions would create a risk of inconsistent results and would be

unnecessary and duplicative of this litigation.

       155.    The litigation of the claims brought herein is manageable. Defendant’s uniform

conduct, the consistent provisions of the relevant laws, and the ascertainable identities of Class

Members demonstrates that there would be no significant manageability problems with

prosecuting this lawsuit as a class action.

       156.    Adequate notice can be given to Class Members directly using information

maintained in Defendant’s records.

       157.    Unless a Class-wide injunction is issued, Defendant may continue in their failure

to properly secure the Private Information of Class Members, Defendant may continue to refuse

to provide proper notification to Class Members regarding the Data Breach, and Defendant may

continue to act unlawfully as set forth in this Complaint.

       158.    Further, Defendant has acted or refused to act on grounds generally applicable to

the Classes and, accordingly, final injunctive or corresponding declaratory relief with regard to the

Class Members as a whole is appropriate under Rule 23(b)(2) of the Federal Rules of Civil

Procedure.

       159.    Likewise, particular issues under Rule 23(c)(4) are appropriate for certification

because such claims present only particular, common issues, the resolution of which would




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advance the disposition of this matter and the parties’ interests therein. Such particular issues

include, but are not limited to:

           a. Whether Defendant owed a legal duty to Plaintiff and Class Members to exercise
              due care in collecting, storing, using, and safeguarding their Private Information;

           b. Whether Defendant breached a legal duty to Plaintiff and Class Members to
              exercise due care in collecting, storing, using, and safeguarding their Private
              Information;

           c. Whether Defendant failed to comply with its own policies and applicable laws,
              regulations, and industry standards relating to data security;

           d. Whether an implied contract existed between Defendant on the one hand, and
              Plaintiff and Class Members on the other, and the terms of that implied contract;

           e. Whether Defendant breached the implied contract;

           f. Whether Defendant adequately and accurately informed Plaintiff and Class
              Members that their Private Information had been compromised;

           g. Whether Defendant failed to implement and maintain reasonable security
              procedures and practices appropriate to the nature and scope of the information
              compromised in the Data Breach;

           h. Whether Defendant engaged in unfair, unlawful, or deceptive practices by failing
              to safeguard the Private Information of Plaintiff and Class Members; and

           i. Whether Class Members are entitled to actual, consequential, and/or nominal
              damages, and/or injunctive relief as a result of Defendant’s wrongful conduct.

                                       CAUSES OF ACTION

                                           COUNT I
                                        NEGLIGENCE
              (On Behalf of Plaintiff and the Putative Nationwide Rule 23 Class)

       160.    Plaintiff and the Class repeat and re-allege each and every allegation in the

Complaint as if fully set forth herein.

       161.    Plaintiff and the Class entrusted Defendant with their Private Information.




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           162.   Plaintiff and the Class entrusted their Private Information to Defendant on the

premise and with the understanding that Defendant would safeguard their information, use their

PII for business purposes only, and/or not disclose their Private Information to unauthorized third

parties.

           163.   Defendant has full knowledge of the sensitivity of the Private Information and the

types of harm that Plaintiff and the Class could and would suffer if the Private Information were

wrongfully disclosed.

           164.   Defendant knew or reasonably should have known that the failure to exercise due

care in the collecting, storing, and using of the Private Information of Plaintiff and the Class

involved an unreasonable risk of harm to Plaintiff and the Class, even if the harm occurred through

the criminal acts of a third party.

           165.   By accepting, storing, and maintaining Plaintiff’s and Class Members’ Private

Information, Defendant had a duty to exercise reasonable care in safeguarding, securing, and

protecting such information from being compromised, lost, stolen, misused, and/or disclosed to

unauthorized parties. This duty includes, among other things, designing, maintaining, and testing

Defendant’s security protocols to ensure that the Private Information of Plaintiff and the Class

Members in Defendant’s possession was adequately secured and protected.

           166.   By accepting, storing, and maintaining Plaintiff’s and Class Members’ Private

Information, Defendant also had a duty to exercise appropriate clearinghouse practices to remove

Private Information they were no longer required to retain pursuant to regulations.

           167.   By accepting, storing, and maintaining Plaintiff’s and Class Members’ Private

Information, Defendant also had a duty to have procedures in place to detect and prevent the

improper access and misuse of the Private Information of Plaintiff and the Class.


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       168.    The harm that occurred as a result of the Data Breach is the type of harm the FTC

Act was intended to guard against. The FTC has pursued enforcement actions against businesses,

which, as a result of their failure to employ reasonable data security measures and avoid unfair and

deceptive practices, caused the same harm as that suffered by Plaintiff and the Class.

       169.    Defendant’s duty to use reasonable security measures arose as a result of the special

relationship that existed between Defendant and Plaintiff and the Class. That special relationship

arose because Plaintiff and the Class entrusted Defendant with their confidential Private

Information, a necessary part of obtaining services from Defendant.

       170.    Defendant was subject to an “independent duty,” untethered to any contract

between Defendant and Plaintiff or the Class.

       171.    A breach of security, unauthorized access, and resulting injury to Plaintiff and the

Class was reasonably foreseeable, particularly in light of Defendant’s inadequate security

practices.

       172.    Plaintiff and the Class were the foreseeable and probable victims of any inadequate

security practices and procedures. Defendant knew or should have known of the inherent risks in

collecting and storing the Private Information of Plaintiff and the Class, the critical importance of

providing adequate security of that Private Information, and the necessity for encrypting Private

Information stored on Defendant’s systems.

       173.    Defendant’s own conduct created a foreseeable risk of harm to Plaintiff and the

Class. Defendant’s misconduct included, but was not limited to, their failure to take the steps and

opportunities to prevent the Data Breach as set forth herein. Defendant’s misconduct also included

their decisions not to comply with industry standards for the safekeeping of the Private Information

of Plaintiff and the Class, including basic encryption techniques freely available to Defendant.


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       174.    Defendant knew or should have known that Plaintiff’s and Class Members’ Private

Information was stored on its network and was or should have been aware of the extreme risks

associated with failing to properly safeguard Plaintiff’s and Class Members’ Private Information.

       175.    Defendant was or should have been aware that the likelihood of a cyberattack was

foreseeable.

       176.    Despite being aware of the likelihood that Defendant’s systems and networks were

vulnerable, not secure, and likely to be attacked by cybercriminals, Defendant failed to correct,

update, or upgrade its security protections, thus causing the Data Breach.

       177.    Plaintiff and the Class had no ability to protect their Private Information that was

in, and possibly remains in, Defendant’s possession.

       178.    Defendant was in the best position to protect against the harm suffered by Plaintiff

and the Class as a result of the Data Breach.

       179.    Defendant had and continue to have a duty to adequately disclose that the Private

Information of Plaintiff and the Class within Defendant’s possession might have been

compromised, how it was compromised, and precisely the types of data that were compromised

and when. Such notice was necessary to allow Plaintiff and the Class to take steps to prevent,

mitigate, and repair any identity theft and the fraudulent use of their Private Info by third parties.

       180.    Defendant had a duty to employ proper procedures to prevent the unauthorized

dissemination of the Private Information of Plaintiff and the Class.

       181.    Defendant has admitted that the Private Information of Plaintiff and Class Members

was disclosed due to Defendant’s “technical security configuration issue,” and thus also accessed

and exfiltrated by unauthorized third persons as a result of the Data Breach.




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        182.   Defendant, through its actions and/or omissions, unlawfully breached their duties

to Plaintiff and the Class by failing to implement industry protocols and exercise reasonable care

in protecting and safeguarding the Private Information of Plaintiff and the Class during the time

the Private Information was within Defendant’s possession or control.

        183.   Defendant improperly and inadequately safeguarded the Private Information of

Plaintiff and the Class in deviation of standard industry rules, regulations, and practices at the time

of the Data Breach.

        184.   Defendant failed to heed industry warnings and alerts to provide adequate

safeguards to protect the Private Information of Plaintiff and the Class in the face of increased risk

of theft.

        185.   Defendant, through its actions and/or omissions, unlawfully breached their duty to

Plaintiff and the Class by failing to have appropriate procedures in place to detect and prevent

dissemination of Private Information.

        186.   Defendant breached its duty to exercise appropriate clearinghouse practices by

failing to remove Private Information they were no longer required to retain pursuant to

regulations.

        187.   Defendant, through its actions and/or omissions, unlawfully breached their duty to

adequately and timely disclose to Plaintiff and the Class the existence and scope of the Data

Breach.

        188.   But for Defendant’s wrongful and negligent breach of duties owed to Plaintiff and

the Nationwide Class, the Private Information of Plaintiff and the Class would not have been

compromised.




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       189.    Said differently, if Defendant had properly prevented a “technical security

configuration,” then the Data Breach would not have occurred and Plaintiff’s and Class Members’

Private Information would have been appropriately safeguarded.

       190.    There is a close causal connection between Defendant’s failure to implement

security measures to protect the Private Information of Plaintiff and the Class and the harm, or risk

of imminent harm, suffered by Plaintiff and the Nationwide Class. The Private Information of

Plaintiff and Class Members was lost and accessed as the proximate result of Defendant’s failure

to exercise reasonable care in safeguarding such Private Information by adopting, implementing,

and maintaining appropriate security measures.

       191.    As a direct and proximate result of Defendant’s negligence, Plaintiff and the Class

have suffered and will suffer injury, including but not limited to: (i) actual identity theft; (ii) the

loss of the opportunity of how their Private Information is used; (iii) the compromise, publication,

and/or theft of their Private Information; (iv) out-of-pocket expenses associated with the

prevention, detection, and recovery from identity theft, tax fraud, and/or unauthorized use of their

Private Information; (v) lost opportunity costs associated with effort expended and the loss of

productivity addressing and attempting to mitigate the present and continuing consequences of the

Data Breach, including but not limited to efforts spent researching how to prevent, detect, contest,

and recover from tax fraud and identity theft; (vi) costs associated with placing freezes on credit

reports; (vii) the continued risk to their Private Information, which remain in Defendant’s

possession and is subject to further unauthorized disclosures so long as Defendant fails to

undertake appropriate and adequate measures to protect the Private Information of Plaintiff and

the Class; and (viii) present and continuing costs in terms of time, effort, and money that has been




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and will be expended to prevent, detect, contest, and repair the impact of the Private Information

compromised as a result of the Data Breach for the remainder of the lives of Plaintiff and the Class.

       192.    As a direct and proximate result of Defendant’ negligence and negligence per se,

Plaintiff and the Class have suffered and will continue to suffer other forms of injury and/or harm,

including, but not limited to, anxiety, emotional distress, loss of privacy, and other economic and

non-economic losses.

       193.    Additionally, as a direct and proximate result of Defendant’s negligence and

negligence per se, Plaintiff and the Class have suffered and will suffer the continued risks of

exposure of their Private Information, which remain in Defendant’s possession and is subject to

further unauthorized disclosures so long as Defendant fails to undertake appropriate and adequate

measures to protect the Private Information in its continued possession.

       194.    As a direct and proximate result of Defendant’s negligence and negligence per se,

Plaintiff and the Class are entitled to recover actual, consequential, and nominal damages.

                                           COUNT II
                                   NEGLIGENCE PER SE
              (On behalf of Plaintiff and the Putative Nationwide Rule 23 Class)

       195.    Plaintiff and the Class repeat and re-allege each and every allegation in the

Complaint as if fully set forth herein.

       196.    Pursuant to Federal Trade Commission, 15 U.S.C. § 45, Defendant had a duty to

provide fair and adequate computer systems and data security practices to safeguard Plaintiff’s and

Class Members’ Private Information.

       197.     Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting commerce,”

including, as interpreted and enforced by the FTC, the unfair act or practice by businesses, such as

Defendant, of failing to use reasonable measures to protect Private Information. The FTC


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publications and orders described above also form part of the basis of Defendant’s duty in this

regard.

          198.   Defendant violated Section 5 of the FTC Act by failing to use reasonable measures

to protect Private Information and not complying with applicable industry standards, as described

in detail herein. Defendant’s conduct was particularly unreasonable given the nature and amount

of PII it obtained and stored and the foreseeable consequences of the immense damages that would

result to Plaintiff and the Class.

          199.   Defendant’s violation of Section 5 of the FTC Act constitutes negligence per se.

          200.   Plaintiff and the Class are within the class of persons that the FTC Act was intended

to protect.

          201.   The harm that occurred as a result of the Data Breach is the type of harm the FTC

Act was intended to guard against. The FTC has pursued enforcement actions against businesses,

which, as a result of their failure to employ reasonable data security measures and avoid unfair and

deceptive practices, caused the same harm as that suffered by Plaintiff and the Class.

          202.   Defendant breached its duties to Plaintiff and Class Members under the Federal

Trade Commission Act by failing to provide fair, reasonable, or adequate computer systems and

data security practices to safeguard Plaintiff’s and Class Members' Private Information.

          203.   Defendant's failure to comply with applicable laws and regulations constitutes

negligence per se.

          204.   But for Defendant's wrongful and negligent breach of their duties owed to Plaintiff

and Class Members, Plaintiff and Class Members would not have been injured.

          205.   The injury and harm suffered by Plaintiff and Class Members was the reasonably

foreseeable result of Defendant's breach of their duties. Defendant knew or should have known


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that it was failing to meet its duties, and that Defendant's breach would cause Plaintiff and Class

Members to experience the foreseeable harms associated with the exposure of their Private

Information.

       206.    As a direct and proximate result of Defendant’s negligent per se conduct, Plaintiff

and Class Members have suffered an injury and are entitled to compensatory, consequential, and

punitive damages in an amount to be proven at trial.

                                      COUNT III
       VIOLATION OF SOUTH CAROLINA STATE DATA BREACH STATUTES
               (On behalf of Plaintiff and the South Carolina Subclass)

       207.    Plaintiff and the South Carolina Subclass (the “Class” for the purposes of this

count) repeat and re-allege each and every allegation in the Complaint as if fully set forth herein.

       208.    Defendant owns, licenses and/or maintains computerized data that includes

Plaintiff’s and Class Members’ Private Information.

       209.    Defendant “maintains” Plaintiff’s and Class Members’ Private Information as

defined in S.C. Code § 39-1-90(B).

       210.    Defendant’s conduct, as alleged above, violated the data breach statutes of South

Carolina, including, S.C. Code § 1-11-490 (2023) and/or S.C. Code § 39-1-90 (2023) (the “State

Data Breach Acts”).

       211.    Defendant was required, but failed, to implement and maintain reasonable security

procedures and practices appropriate to the nature and scope of the information compromised in

the cyber security incident described herein.

       212.    The Data Breach constituted a “breach of the security system” within the meaning

of the State Data Breach Acts. The information compromised in the Data Breach constituted

“personal identifying information” within the meaning of the State Data Breach Acts.


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       213.    The State Data Breach Acts require disclosure of data breaches “in the most

expedient time possible and without unreasonable delay….” S.C. Code § 39-1-90(A)

       214.    Defendant violated the State Data Breach Acts by unreasonably delaying disclosure

of the Data Breach to Plaintiff and other Class Members, whose Private Information was, or was

reasonably believed to have been, acquired by an unauthorized person.

       215.    Specifically, Defendant learned of the Data Breach on or around March 20, 2024,

but waited five months, until on or around August 8, 2024, to notify Plaintiff and Class Members.

       216.    Upon information and belief, no law enforcement agency instructed Defendant that

notification to Plaintiff and Class Members would impede a criminal investigation.

       217.    As a result of Defendant’s violation of the State Data Breach Acts, Plaintiff and

Class Members incurred damages as alleged herein.

       218.    Plaintiff, individually and on behalf of the Class, seek all remedies available under

the State Data Breach Acts, including, but not limited to: (a) actual damages suffered by Class

Members as alleged above; (b) statutory damages for Defendant’s willful, intentional, and/or

reckless conduct; (c) equitable relief; and (d) reasonable attorneys’ fees and costs.

                                          COUNT IV
                            BREACH OF IMPLIED CONTRACT
              (On behalf of Plaintiff and the Putative Nationwide Rule 23 Class)

       219.    Plaintiff and the Class repeat and re-allege each and every allegation in the

Complaint as if fully set forth herein.

       220.    Plaintiff and the Class entrusted their Private Information to Defendant. In so

doing, Plaintiff and the Class entered into implied contracts with Defendant by which Defendant

agreed to safeguard and protect such information, to keep such information secure and




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confidential, and to timely and accurately notify Plaintiff and the Class if their data had been

breached and compromised or stolen.

       221.    In its Privacy Policy, Defendant represented that it would not disclose Plaintiff’s

and Class Members’ Private Information to unauthorized third parties.

       222.    Plaintiff and the Class fully performed their obligations under the implied contracts

with Defendant.

       223.    Defendant breached the implied contracts they made with Plaintiff and the Class by

failing to safeguard and protect their personal information, by failing to delete the information of

Plaintiff and the Class once the relationship ended, and by failing to provide timely and accurate

notice to them that personal information was compromised as a result of the Data Breach.

       224.    As a direct and proximate result of Defendant’s above-described breach of implied

contract, Plaintiff and the Class have suffered (and will continue to suffer) ongoing, imminent, and

impending threat of identity theft crimes, fraud, and abuse, resulting in monetary loss and

economic harm; actual identity theft crimes, fraud, and abuse, resulting in monetary loss and

economic harm; loss of the confidentiality of the stolen confidential data; the illegal sale of the

compromised data on the dark web; expenses and/or time spent on credit monitoring and identity

theft insurance; time spent scrutinizing bank statements, credit card statements, and credit reports;

expenses and/or time spent initiating fraud alerts, decreased credit scores and ratings; lost work

time; and other economic and non-economic harm.

       225.    As a direct and proximate result of Defendant’s above-described breach of implied

contract, Plaintiff and the Class are entitled to recover actual, consequential, and nominal damages.




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                                           COUNT V
                              BREACH OF FIDUCIARY DUY
              (On behalf of Plaintiff and the Putative Nationwide Rule 23 Class)

       226.    Plaintiff and the Class repeat and re-allege each and every allegation in the

Complaint as if fully set forth herein.

       227.    In light of the special relationship between Defendant and Plaintiff and Class

Members, whereby Defendant became guardian of Plaintiff and Class Members’ Private

Information, Defendant became a fiduciary by its undertaking and guardianship of the Private

Information, to act primarily for Plaintiff and Class Members, (1) for the safeguarding of Plaintiff

and Class Members’ Private Information; (2) to timely notify Plaintiff and Class Members of a Data

Breach and disclosure; and (3) to maintain complete and accurate records of what information (and

where) Defendant did and does store.

       228.    Defendant has a fiduciary duty to act for the benefit of Plaintiff and Class Members

upon matters within the scope of Defendant’s relationship with its patients, in particular, to keep

secure their Private Information.

       229.    Defendant breached its fiduciary duties to Plaintiff and Class Members by failing

to diligently discovery, investigate, and give notice of the Data Breach in a reasonable and

practicable period.

       230.    Defendant breached its fiduciary duties to Plaintiff and Class Members by failing

to encrypt or otherwise protect the integrity of the systems containing Plaintiff and Class Members’

Private Information.

       231.    Defendant breached its fiduciary duties owed to Plaintiff and Class Members by

failing to timely notify and/or warn Plaintiff and Class Members of the Data Breach.




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       232.    Defendant breached its fiduciary duties to Plaintiff and Class Members by

otherwise failing to safeguard Plaintiff’s and Class Members' Private Information.

       233.    As a direct and proximate result of Defendant's breaches of its fiduciary duties,

Plaintiff and Class Members have suffered and will suffer injury, including but not limited to:

(i) actual identity theft; (ii) the compromise, publication, and/or theft of their Private

Information; (iii) out-of-pocket expenses associated with the prevention, detection, and recovery

from identity theft and/or unauthorized use of their Private Information; (iv) lost opportunity

costs associated with effort expended and the loss of productivity addressing and attempting to

mitigate the actual and future consequences of the Data Breach, including but not limited to

efforts spent researching how to prevent, detect, contest, and recover from identity theft; (v) the

continued risk to their Private Information, which remains in Defendant's possession and is

subject to further unauthorized disclosures so long as Defendant fails to undertake appropriate

and adequate measures to protect the Private Information in their continued possession; (vi)

future costs in terms of time, effort, and money that will be expended as result of the Data Breach

for the remainder of the lives of Plaintiff and Class Members; and (vii) the diminished value of

Defendant's services they received.

       234.    As a direct and proximate result of Defendant's breach of its fiduciary duties,

Plaintiff and Class Members have suffered and will continue to suffer other forms of injury and/or

harm, and other economic and non-economic losses.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and Class Members, requests judgment

against Defendant and that the Court grant the following:



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 A.     For an Order certifying the Class, and appointing Plaintiff and her Counsel to

        represent the Class;

 B.     For equitable relief enjoining Defendant from engaging in the wrongful conduct

        complained of herein pertaining to the misuse and/or disclosure of the PII of

        Plaintiff and Class Members, and from refusing to issue prompt, complete, any

        accurate disclosures to Plaintiff and Class Members;

 C.     For injunctive relief requested by Plaintiff, including, but not limited to, injunctive

        and other equitable relief as is necessary to protect the interests of Plaintiff and

        Class Members, including but not limited to an order:

        i.   prohibiting Defendant from engaging in the wrongful and unlawful acts

             described herein;

       ii.   requiring Defendant to protect, including through encryption, all data collected

             through the course of their business in accordance with all applicable

             regulations, industry standards, and federal, state or local laws;

      iii.   requiring Defendant to delete, destroy, and purge the personal identifying

             information of Plaintiff and Class Members unless Defendant can provide to

             the Court reasonable justification for the retention and use of such information

             when weighed against the privacy interests of Plaintiff and Class Members;

      iv.    requiring Defendant to implement and maintain a comprehensive Information

             Security Program designed to protect the confidentiality and integrity of the PII

             of Plaintiff and Class Members;

       v.    prohibiting Defendant from maintaining the PII of Plaintiff and Class Members

             on a cloud-based database;


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      vi.    requiring   Defendant     to    engage    independent      third-party   security

             auditors/penetration testers as well as internal security personnel to conduct

             testing, including simulated attacks, penetration tests, and audits on

             Defendant’s systems on a periodic basis, and ordering Defendant to promptly

             correct any problems or issues detected by such third-party security auditors;

     vii.    requiring Defendant to engage independent third-party security auditors and

             internal personnel to run automated security monitoring;

     viii.   requiring Defendant to audit, test, and train their security personnel regarding

             any new or modified procedures;

      ix.    requiring Defendant to segment data by, among other things, creating firewalls

             and access controls so that if one area of Defendant’s network is compromised,

             hackers cannot gain access to other portions of Defendant’s systems;

       x.    requiring Defendant to conduct regular database scanning and securing checks;

      xi.    requiring Defendant to establish an information security training program that

             includes at least annual information security training for all employees, with

             additional training to be provided as appropriate based upon the employees’

             respective responsibilities with handling personal identifying information, as

             well as protecting the personal identifying information of Plaintiff and Class

             Members;

     xii.    requiring Defendant to routinely and continually conduct internal training and

             education, and on an annual basis to inform internal security personnel how to

             identify and contain a breach when it occurs and what to do in response to a

             breach;


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      xiii.   requiring Defendant to implement a system of tests to assess its respective

              employees’ knowledge of the education programs discussed in the preceding

              subparagraphs, as well as randomly and periodically testing employees

              compliance with Defendant’s policies, programs, and systems for protecting

              personal identifying information;

      xiv.    requiring Defendant to implement, maintain, regularly review, and revise as

              necessary a threat management program designed to appropriately monitor

              Defendant’s information networks for threats, both internal and external, and

              assess whether monitoring tools are appropriately configured, tested, and

              updated;

       xv.    requiring Defendant to meaningfully educate all Class Members about the

              threats that they face as a result of the loss of their confidential personal

              identifying information to third parties, as well as the steps affected individuals

              must take to protect themselves;

      xvi.    requiring Defendant to implement logging and monitoring programs sufficient

              to track traffic to and from Defendant’s servers; and for a period of 10 years,

              appointing a qualified and independent third party assessor to conduct a SOC 2

              Type 2 attestation on an annual basis to evaluate Defendant’s compliance with

              the terms of the Court’s final judgment, to provide such report to the Court and

              to counsel for the class, and to report any deficiencies with compliance of the

              Court’s final judgment;

 D.      For an award of damages, including, but not limited to, actual, consequential, and

         nominal damages, as allowed by law in an amount to be determined;


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      E.     For an award of attorneys’ fees, costs, and litigation expenses, as allowed by law;

      F.     For prejudgment interest on all amounts awarded; and

      G.     Such other and further relief as this Court may deem just and proper.

                               DEMAND FOR JURY TRIAL

      Plaintiff hereby demands that this matter be tried before a jury.


Date: August 22, 2024                       Respectfully Submitted,

                                            /s/ Paul J. Doolittle
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                                            *Pro Hac Vice Application forthcoming

                                            Counsel for Plaintiff and Putative Class




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